Case 2:07-cr-20283-SFC-MKM ECF No. 332, PageID.1618 Filed 09/27/10 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

United States of America,

        Plaintiff,

v.                                           Case No. 07-20283

Armando Canez (D-17),                        Honorable Sean F. Cox

      Defendant.
____________________________/

                           OPINION & ORDER
        GRANTING IN PART AND DENYING WITHOUT PREJUDICE IN PART
        THE GOVERNMENT’S MOTION TO PRODUCE VOICE EXEMPLARS

        This matter is before the Court on the Government’s Motion to Produce Voice

Exemplars. For the reasons set forth below, the Court shall grant the motion in part and deny the

motion in part without prejudice.

                                       BACKGROUND

        This case involves an alleged large-scale marijuana conspiracy which operated over the

course of several years through several different states. Seventeen defendants have been indicted

in this case.

        Defendant Armando Canez (“Defendant” or “Canez”) is charged with Conspiracy to

Possess with Intent to Distribute and to Distribute Marijuana, Over 1000 Kilograms, in violation

of 21 U.S.C. §§ 841(a)(1) & 846 (Count I).

        On July 21, 2010, the Government filed the instant Motion to Produce Voice Exemplars.

(Docket Entry No. 305). The Court heard oral argument on this motion on September 22, 2010.




                                                1
Case 2:07-cr-20283-SFC-MKM ECF No. 332, PageID.1619 Filed 09/27/10 Page 2 of 4




                                            ANALYSIS

         In this motion, the Government seeks an order requiring Canez to provide voice

exemplars to Special Agent Michael Connelly of the F.B.I. In support of the motion, the

Government states that it intends to introduce evidence at trial of recorded telephone calls and of

an intercepted conversation at a meeting in which Canez is believed to have participated. The

Government asserts that a comparison of Canez’s voice exemplars with the recorded

conversations will assist the trier of fact and that Canez has no constitutional or statutory right to

refuse to produce a voice exemplar.

         Canez did not file a response brief in opposition to the motion. At the September 22,

2010 hearing, however, Defense Counsel opposed the motion.

         In United States v. Dionisio, 410 U.S. 1 (1973) the United States Supreme Court held that

a witness subpoenaed to appear before a grand jury could be compelled to produce an exemplar

of his voice without violating the Fifth Amendment privilege against compulsory incrimination.

The Sixth Circuit has held that Dionisio is not limited to the grand jury context and has held that

requiring a defendant to submit a voice exemplar does not violate a constitutional right. United

States v. Franks, 511 F.2d 25, 32 (6th Cir. 1975); United States v. Mitchell, 556 F.2d 371, 382

(6th Cir. 1977). Thus, the Sixth Circuit has affirmed district court orders compelling a defendant

to provide a voice exemplar. Franks, supra; Mitchell, supra. In addition, in United States v.

Williams, 704 F.2d 315 the Sixth Circuit affirmed a district court’s ruling requiring the defendant

to read a neutral passage from Time magazine during trial, for the purpose of the jury hearing his

voice.

         Notably, the Government did not submit a proposed order along with its motion, nor did


                                                  2
Case 2:07-cr-20283-SFC-MKM ECF No. 332, PageID.1620 Filed 09/27/10 Page 3 of 4




it specify the type of voice exemplar it seeks. Rather, the motion simply asks this Court to issue

an order “requiring defendant Canez to provide voice exemplars” to Agent Connelly. (Docket

Entry No. 305 at 2).

        At the September 22, 2010 hearing, the Government indicated, for the first time, that it

was asking the Court to order Canez to provide voice exemplars wherein he would speak the

very same words that were spoken on the tape recordings at issue.

        The Court shall grant the Government’s motion in part and deny it without prejudice in

part. The Court shall grant the motion to the extent that the Court shall order Canez to provide a

voice exemplar, consisting of Canez reading a neutral passage similar to the one referenced in

United States v. Williams.

        The Government’s request that Canez be ordered to read the very same words spoken on

the tapes at issue, however, is denied without prejudice. If the Government wishes to obtain

such a voice exemplar, the Government may file a supplemental brief, within ten (10) days of

this Opinion & Order, identifying the authority supporting that request. The Government must

also submit a proposed order containing a transcript of any portions of the tape recordings that

the Government wishes Canez to read when providing voice exemplars.

        If the Government files a supplemental brief, Canez may file a response brief within ten

(10) days of the Government’s supplemental brief.

                                   CONCLUSION & ORDER

        For the reasons set forth above, IT IS ORDERED that the Government’s Motion to

Produce Voice Exemplars is GRANTED IN PART AND DENIED WITHOUT PREJUDICE IN

PART.


                                                 3
Case 2:07-cr-20283-SFC-MKM ECF No. 332, PageID.1621 Filed 09/27/10 Page 4 of 4




       The motion is GRANTED to the extent that the Court ORDERS Canez to provide a voice

exemplar, consisting of Canez reading a neutral passage similar to the one referenced in United

States v. Williams.

       The motion is DENIED WITHOUT PREJUDICE with respect to the Government’s

request that Canez be ordered to read the very same words spoken on the tapes at issue. If the

Government wishes to obtain such a voice exemplar, the Government may file a supplemental

brief as provided in this Opinion & Order. If the Government files a supplemental brief, Canez

may file a response brief within ten (10) days of the Government’s supplemental brief.

       IT IS SO ORDERED.

                                            S/Sean F. Cox
                                            Sean F. Cox
                                            United States District Judge

Dated: September 27, 2010

I hereby certify that a copy of the foregoing document was served upon counsel of record on
September 27, 2010, by electronic and/or ordinary mail.

                             S/Jennifer Hernandez
                             Case Manager




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